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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater           *    MDL NO. 2179
       Horizon” in the Gulf Of Mexico, on            *
       April 20, 2010                                *    SECTION: J
                                                     *
    This document relates to:                        *
                                                     *
             Nos. 12-970, 15-4143,                   *    HONORABLE CARL J. BARBIER
                  15-4146 and 15-4654                *
                                                          MAGISTRATE JUDGE
                                                     *
                                                          SHUSHAN
                                                     *
                                                     *
                                                     *
                                                     *
                                                     *



                                            ORDER

       CONSIDERING the Unopposed Motion for Approval of Payment from Escrow Accounts

and to Approve Amended Notice Plan, together with the record of these proceedings, and the

requirements of law:


       IT IS HEREBY ORDERED that the Escrow Agent is hereby authorized and directed to pay

Kinsella Media a total of One Hundred and Twenty Thousand and Six Hundred and Fifty-Six

Dollars ($120,656.00) for notice-related costs and services rendered. This payment shall be

made from the Transocean Settlement Fund and the Halliburton Settlement Fund on a pro rata

basis, (specifically $100,023.82 out of the Halliburton Settlement Fund and $20,632.18 out of the

Transocean Settlement Fund).
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            IT IS FURTHER ORDERED the Notice Plan 1 previously approved by the Court 2 be

amended as follows: (a) publication in the Houma Today shall be replaced by publication in the

Houma Courier and The Daily Comet, and (b) publication in the Keesler News shall be replaced

by publication in the Biloxi D’Iberville Press.


            New Orleans, Louisiana this _______ day of ____________, 2016.



                                                        _____________________________________
                                                                Hon. Carl J. Barbier




            1
                Rec. Doc. 16161-2.
            2
                Rec. Doc. 16183.




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